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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                            DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                           DATE FILED: September 28, 2017
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                                                                        :
UNITED STATES OF AMERICA                                                :
                                                                        :   15 Cr. 616 (KBF)
         - v. -                                                         :
                                                                        :       ORDER
DARCY WEDD,                                                             :
                                                                        :
                                          Defendant.                    :
------------------------------------------------------------------------X
KATHERINE B. FORREST, United States District Judge:

   The Court is in receipt of the Governments letter, dated 9/25/2017 (ECF no. 553).

The Court intends to preside over this action for the re-trial. While the Court did

consider reassigning it simply because trying a case a third time (with two four-

week trials) takes significant resources, it does not believe it necessary for any

substantive reason and there are significant efficiencies to be gained from retaining

the action. Among the Court’s consideration in this regard are that the parties are

available to proceed quickly, and this Court is available. (It would be a substantial

effort for another Judge to familiarize him/herself with the very large record here.)

Accordingly, it is hereby ORDERED as follows


   •   Motions in limine shall be filed not later than 11/3/2017. Responses shall be

       due not later than 11/10/2017 (no replies).

   •   Pretrial materials, including proposed voir dire, proposed jury instructions,

       proposed stipulations, as well as witness and exhibit lists shall be filed not

       later than 11/10/2017.
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  •   The Court intends to use the same jury questionnaire which was used in the

      prior trial.

  •   The final pretrial conference is scheduled for 11/17/2017, at 10:00 a.m.

  •   3500 material shall be turned over to the defendant not later than

      11/24/2017.

  •   Trial shall commence on 11/27/2017, at 9:00 a.m. (the Court has a back-

      end constraint of 12/20/2017. Therefore, the case must be over by then. The

      parties should plan accordingly).


             SO ORDERED:

Dated:       New York, New York
             September 28, 2017


                                       __________________________________
                                           KATHERINE B. FORREST
                                          United States District Judge
